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                                           No. 23-1854

                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT
                                        __________________

                  D.C., by his parents and guardians, Trevor Chaplick and
                                   Vivian Chaplick, et al.,
                                                        Plaintiffs-Appellants,
                                                  v.
         FAIRFAX COUNTY SCHOOL BOARD; VIRGINIA DEPARTMENT OF
         EDUCATION; DR. MICHELLE REID, Superintendent of Fairfax County
                Public Schools, in her official capacity; LISA COONS,
                                                       Defendants-Appellees.
                                        __________________
                        On Appeal from the United States District Court
                        for the Eastern District of Virginia (Alexandria)
                              Case No. 1:22-cv-01070-MSN-IDD
                                     __________________

         UNOPPOSED MOTION OF VIRGINIA DEPARTMENT OF EDUCATION
            AND LISA COONS FOR LEAVE TO FILE A SEPARATE BRIEF
                              _______________
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                              (Additional counsel listed on inside cover)
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                                Counsel for Defendants-Appellees
                        Virginia Department of Education and Lisa Coons
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              Pursuant to Local Rule 28(d), Defendants-Appellees Virginia Department of

        Education and Lisa Coons, in her official capacity as Superintendent of Public

        Instruction, (the “Commonwealth Appellees”) respectfully request leave to file a

        full-length brief in this case separate from Defendants-Appellees Fairfax County

        School Board and Dr. Michelle Reid, Superintendent of Fairfax County Public

        Schools, in her official capacity (the “Fairfax County Appellees”).

              As explained below, the district court in this case dismissed the Plaintiffs-

        Appellants’ claims against both the Commonwealth Appellees and the Fairfax

        County Appellees. The Commonwealth Appellees—an executive department and

        an executive officer of the Commonwealth—have a strong institutional interest in

        exercising independent litigation judgment regarding the claims at issue in this

        appeal. Counsel for the Plaintiffs-Appellants and the Fairfax County Appellees do

        not object to this motion.

              1.     This appeal arises from the dismissal of a putative class action lawsuit

        on behalf of two Virginia students and their parents under the Individuals with

        Disabilities Education Act (IDEA), 20 U.S.C. § 1400 et seq., and the Equal

        Protection and Due Process Clauses of the Fourteenth Amendment (via 42 U.S.C. §

        1983). See Am. Compl., No. 1:22-cv-1070 (E.D. Va.) (Doc. 43). Plaintiffs allege

        that they were deprived of a free appropriate public education and that the due

        process hearings in which they could challenge that alleged deprivation were



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        inadequate.      Plaintiffs asserted separate claims against the Commonwealth

        Appellees and the Fairfax County Appellees for separate alleged violations of the

        IDEA, citing distinct portions of the IDEA that reflect the different roles of state

        educational agencies and local educational agencies in administering the statute. See

        id. at 101-08.

              2.      The district court granted the Commonwealth Appellees’ and Fairfax

        County Appellees’ respective motions to dismiss, and plaintiffs appealed. This

        Court issued a briefing order on August 16, 2023, stating that “[a]ll parties to a side

        must join in a single brief, even in consolidated cases, unless the court has granted a

        motion for leave to file separate briefs.” The briefing order directed Appellants to

        file their opening brief and appendix by September 25, Appellees to file a response

        brief by October 25, and any reply brief to be filed 21 days thereafter.

              3.      There is good cause to allow the Commonwealth Appellees to file a

        separate response brief from the Fairfax County Appellees in this appeal. The

        Commonwealth Appellees have a strong institutional interest in exercising

        independent litigation judgment in this context. Indeed, under Virginia law the legal

        arguments to be advanced by the Commonwealth Appellees in this Court must be

        within the exclusive control of the Commonwealth’s Attorney General. See Va.

        Code § 2.2-507.      A requirement to coordinate a joint litigating position with

        constitutionally independent school divisions and their officers, see Va. Const. art.



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        VIII, § 7, is inconsistent with that statutory responsibility.          Allowing the

        Commonwealth Appellees and the Fairfax County Appellees to proceed separately

        will be consistent with the manner in which the parties litigated this case in district

        court, where the Commonwealth Appellees filed a separate motion to dismiss. See

        Docs. 36 (motion to dismiss), 37 (brief in support).

              4.     The Commonwealth Appellees also request that the Court treat the brief

        of the Commonwealth Appellees as a separate brief for purposes of the type-volume

        limitations of Federal Rule of Appellate Procedure 32(a). The Commonwealth

        Appellees will, of course, make every reasonable effort to avoid burdening the Court

        with duplicative argument.

              5.     Counsel for the Plaintiff-Appellants and the Fairfax County Appellees

        have stated that they do not object to this motion.




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                                           CONCLUSION

              The Court should grant the Commonwealth Appellees leave to file a

        separate, full-length response brief.

        Dated: September 21, 2023               Respectfully submitted,

                                                /s/ Brian D. Schmalzbach
                                                Brian D. Schmalzbach

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                             CERTIFICATE OF COMPLIANCE

              This motion complies with the word limit of Fed. R. App. P. 27(d)(2)(A), as

        it contains 597 words, excluding the portions exempted by Rule 32(f).

              This motion complies with the typeface and type style requirements of Fed.

        R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because it has been prepared in a

        proportionally spaced, 14-point Times New Roman font using Microsoft Word.



                                                 /s/ Brian D. Schmalzbach
                                                 Brian D. Schmalzbach

                                                 Counsel for Defendants-Appellees
                                                 Virginia Department of Education and
                                                 Lisa Coons




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                                    CERTIFICATE OF SERVICE

              I hereby certify that on September 21, 2023, the foregoing document was filed

        with the Clerk of the United States Court of Appeals for the Fourth Circuit using the

        appellate CM/ECF system, which will serve all counsel of record.



                                                  /s/ Brian D. Schmalzbach
                                                  Brian D. Schmalzbach

                                                  Counsel for Defendants-Appellees
                                                  Virginia Department of Education and
                                                  Lisa Coons




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